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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                     MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                     SECTION: J
                                               ]
                                               ]                     Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                     Mag. Judge Wilkinson
                                               ]

                      SWORN DECLARATION OF MICHAEL RIMPLEY

         Pursuant to 28 U. S. C. § 1746 Michael Rimpley declares the following:

         1.      “My name is Michael Rimpley. The facts contained in this declaration are within

my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from June 1,

2010 to November 10, 2010 and again from January 1, 2011 to June 24, 2011. O’Brien’s

assigned me to work in Cocodrie, Louisiana as an operations manager. My duties were to assist

O’Brien’s in supervising cleanup personnel, tracking equipment and supplies, and monitoring

and reporting on the progress of the cleanup response to BP’s Deepwater Horizon oil spill in

April 2010.

         3.      Supplies and equipment needed to clean the spill were kept at the staging yard

where I worked. It was my job to inventory all items, track where they were deployed, track

when they returned to the decontamination facility, and track when they were returned to staging

for redeployment or demobilization.

         4.      I also supervised the decontamination yard, my job was to make sure equipment

returning from deployment was cleaned, inventoried and returned to the staging yard or

demobilized and returned to the owner. I also kept track of what equipment was to be

redeployed after decontamination or returned to the owner.



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                                                                                           Ex. 18
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       5.      My last position with O’Brien’s was Operations Lead supervising the cleanup in

Mississippi. It was my job to fill out daily reports and attended daily meetings to explain what

we picked up or deployed each day, the equipment and personnel needed, the estimated

completion percentage, and what was planned for the following day.

       6.      O’Brien’s treated me as an independent contractor from the beginning of my

employment until November 10, 2010 when I was first demobilized. When I returned to work

for O’Brien’s on January 1, 2011, O’Brien’s reclassified me as a full time/temporary employee.

       7.      Many other workers worked for O’Brien’s performing similar duties I performed

and were also treated as independent contractors. I refer to these other workers as “Spill

Workers.”

       8.      Throughout my employment with O’Brien’s, O’Brien’s established my and the

other Spill Workers’ compensation, set our schedules, and directed our work on a daily basis.

                                             Hours Worked

       9.      During my employment, the other Spill Workers and I typically worked seven

days per week. I went months without a day off.

       10.     The other Spill Workers and I were regularly scheduled to work twelve hour

shifts for O’Brien’s. However, our actual shifts were often longer than the regularly scheduled

twelve hours and I was required to be available by phone or radio 24 hours a day.

       11.     Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week. Exhibit 1 is an example of one of my time sheets from June 14, 2010

to June 20, 2010. I worked more than thirteen hours each of these days. See Exhibit 1.

                                               Pay




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       12.     When O’Brien’s hired me and the other Spill Workers, we signed “Teaming

Agreements” that state we would be paid by the day. My agreement with O’Brien’s states I

would be paid “$600 per day.” A true and correct copy of the agreement I signed with O’Brien’s

is attached as Exhibit 2.

       13.     Throughout my employment with O’Brien’s, I was paid $600 per day. This

amount did not increase if I worked more than my scheduled hours.

       14.     O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                             Control

       15.     O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because Kenneth Sutcliffe, an O’Brien’s employee, briefly interviewed me and offered me a

job. Another O’Brien’s employee, Keith Towler, hired me and sent me O’Brien’s hiring

documents and employment policies including a teaming agreement.

       16.     When I was hired, Sutcliffe, my supervisor, instructed me how to do my job.

       17.     O’Brien’s supervised and controlled the performance of our work in all the

locations to which I was assigned. For example, I had mandatory daily meetings with Sutcliffe.

In these meetings, Sutcliffe and I gave cleanup contractors instructions regarding our daily tasks

and job performance. When there were problems in staging, deployment or decontamination, I

went to Sutcliffe for help.

       18.     I was required me to deliver daily written reports to Sutcliffe. O’Brien’s, BP, the

Coast Guard and various other senior command staff used these reports to monitor our work and

plan strategy for the next day.




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        19.     O’Brien’s directed the information I was to track and how I was to report it.

O’Brien’s also provided instruction on how to fill out the report forms I completed. When my

forms were not filled out properly, or there was some other problem with my work, Sutcliffe

required me to make corrections according to his instructions.

        20.     O’Brien’s required me and the other Spill Workers to scan our electronic badges

in and out upon each entry and departure from work sites and boats. These badges said

“O’Brien’s” on them. We were required to wear them around our necks so they would always be

visible to the guards at the facilities.

        21.     O’Brien’s required me and the other Spill Workers to obtain approval for time off.

It was approximately 4 months before I received my first time off. These requests for time off

were made to Sutcliffe, who approved them.

        22.     O’Brien’s required me and other Spill Workers to fill out time sheets reflecting

hours worked.

        23.     O’Brien’s required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our

time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we submit to random drug and alcohol testing.

        24.     O’Brien’s set my and other Spill Workers’ working schedules on a weekly basis,

which typically required minimum shifts of 12 hours or longer. We were not allowed to set our

own schedules and I was required to be available 24 hours a day.

        25.     The Spill Workers and I were not allowed to hire employees to help us with our

work.




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        26.    O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibit 2.

        27.    Prior to January 1, 2011, an O’Brien’s employee named Matt Lindamood

contacted me and explained that O’Brien’s was going to make us employees as of January 1,

2011. From that point on, O’Brien’s classified me as an employee.

        28.    Just before I was let go, or “demobilized,” Sutcliffe told me that I was to report to

demobilization. After being demobilized, I returned home because I no longer had work or

lodging in Louisiana.

                                            Investment

        29.    The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, equipment including printers, scanners, hard hats, safety vests, safety

glasses, shirts and hats were provided to us.

                                     Special Skill or Expertise

        30.    O’Brien’s did not require me and the other Spill Workers to possess specialized

qualifications, skill or former training prior to hire in order to perform our job duties. I had

limited contact with O’Brien’s before I was hired and I received no formal training after being

hired with the exception of some hazardous material training. I found out about employment

with O’Brien’s through Sutcliffe who approached me when I was working for a safety contractor

on the oil spill cleanup. Based on our conversation, Sutcliffe offered me the position of

Operations Manager and less than a week later, I was in Cocodrie receiving instructions from

Sutcliffe.




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                                                              EXHIBIT 1
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                                                              EXHIBIT 2
